                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                CRIMINAL NO. 3:02CR156-4


UNITED STATES OF AMERICA                      )
                                              )
                                              )
               vs.                            )              ORDER
                                              )
DEBBIE ZIMMERMAN                              )
                                              )

       THIS MATTER is before the Court on remand from the Fourth Circuit Court of Appeals

for resentencing pursuant to the instructions contained therein. See, United States v. McLean,

2005 WL 1009643 (4th Cir. 2005).

       IT IS, THEREFORE, ORDERED that this matter is hereby scheduled for resentencing

on WEDNESDAY, JULY 27, 2005, AT 4:30 PM, at the U.S. Courthouse in Asheville, North

Carolina.

       IT IS FURTHER ORDERED that the Clerk appoint counsel to represent the Defendant

at resentencing. A revised presentence report is not necessary for this hearing.

       IT IS FURTHER ORDERED that the United States Marshal make arrangements to

have the Defendant transported from her place of incarceration to the hearing and return her

thereto after resentencing. The United States Marshal shall ensure that the Defendant arrives in

this District prior to the hearing date in order that she may be afforded adequate opportunity to

confer with counsel in preparation for the resentencing hearing.

       The Clerk of Court is directed to send copies of this Order to the Defendant, her counsel,

the United States Attorney, the United States Marshal, and the United States Probation Office.




   Case 3:02-cr-00156-MOC-DSC              Document 305        Filed 06/01/05      Page 1 of 3
                                 2




Case 3:02-cr-00156-MOC-DSC   Document 305   Filed 06/01/05   Page 2 of 3
                                  3


                         Signed: June 1, 2005




Case 3:02-cr-00156-MOC-DSC   Document 305       Filed 06/01/05   Page 3 of 3
